Case 2:04-CV-02854-SHI\/|-tmp Document 6 Filed 08/26/05 Page 1 of 2 Page|D 10

 

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nowLo sMITH, W@UFJ,»
Petitioner,
v. No. 04-2354-Ma

UNITED STATES OF .AMERICA,

Respondent.

JUDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Denying Motion Pursuant to 28 U.S.C.
§ 2255, docketed August 9, 2005. The issuance of a certificate
of appealability under amended 28 U.S.C. § 2253 is denied. Any
appeal in this matter by Petitioner, proceeding in forma
pauperis, is not taken in good faith.

APPROY?¢V ¢,,l :

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

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DATE CLE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02854 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

RoWlo Smith

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Honorable Samuel Mays
US DISTRICT COURT

